 Case 24-12224-amc         Doc 26-1 Filed 09/27/24 Entered 09/27/24 14:50:12          Desc
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In Re:                                           )   Bankruptcy No. 24-12224-AMC
                                                  )
 Alvin Smith                                      )   Chapter 13
                           Debtor.                )
                                                  )
 Ally Bank                                        )
                                                  )
                      Claimant/Respondent,        )
                                                  )

          ORDER DENYING MOTION TO DETERMINE VALUE OF PROPERTY

          AND NOW, upon consideration of Debtor, Alvin Smith’s Motion to Determine Value of

Property and Ally Bank’s Response thereto, it is hereby.

      ORDERED, that Debtor’s Motion to Determine Value of Property at $13,795.00 at 10.00%

is hereby denied, and that the value of the Vehicle be set at $19,475.00 at 10.50%.



                                                 _________________
                                                 Judge Ashely M. Chan
                                                 United States Bankruptcy Court
